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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No.:      CV 23-09603 VBF (RAO)                               Date:    June 5, 2024
  Title:         Kevin Murphy Dunbar v. Facebook.com et al.



  Present:         The Honorable ROZELLA A. OLIVER, U.S. MAGISTRATE JUDGE

                   James Muñoz                                          N/A
                   Deputy Clerk                                Court Reporter / Recorder

       Attorneys Present for Plaintiff(s):                Attorneys Present for Defendant(s):

                       N/A                                                N/A

 Proceedings:            (In Chambers) ORDER TO SHOW CAUSE

         Plaintiff initiated this lawsuit on November 8, 2023. Dkt. No. 1. On December 18, 2023,
 Plaintiff filed a Motion to Amend Civil Complaint. Dkt. No. 6. The Court granted Plaintiff’s
 Motion to Amend on March 5, 2024. Dkt. No. 9. The Court set a deadline of April 2, 2024 for
 Plaintiff to file his amended complaint. Id. To date, Plaintiff has not filed an amended complaint.
 Plaintiff is ordered to show cause, in writing, no later than July 5, 2024, why this action should
 not be dismissed without prejudice for failure to prosecute. Alternatively, Plaintiff may file his
 amended complaint or a response indicating that he wishes to proceed on his original complaint
 by the same deadline. Plaintiff is reminded that the amended pleading must be complete and
 should not refer to prior pleadings. See L.R. 15-2. To the extent Plaintiff intended his December
 18, 2023 filing to be considered together with his original complaint as an amended pleading, the
 Court will not consider two separate filings together as an amended pleading. Plaintiff is
 expressly advised that failure to timely file a response to this Order will result in a
 recommendation that this action be dismissed for failure to prosecute pursuant to Federal
 Rule of Civil Procedure 41(b).

        IT IS SO ORDERED.
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                                                                 Initials of Preparer         jm




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